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 DIAMOND MCCARTHY LLP
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 crubio@diamondmccarthy.com

 Local Counsel to Mar-Bow Value Partners, LLC

 UNITED STATES BANKRTUPCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------x
                                        :
 In re:                                 :                            Chapter 11
                                        :
        SUNEDISON, INC., et al.,        :                            Case No. 16-10992 (SMB)
                                        :
                                      1
                  Reorganized Debtors.  :                            (Jointly Administered)
                                        :
 ------------------------------------x

                                       AFFIDAVIT OF SERVICE
  



 1
   The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax
 identification number are as follows: SunEdison, Inc. (5767); SunEdison DG, LLC (N/A); SUNE Wind Holdings,
 Inc. (2144); SUNE Hawaii Solar Holdings, LLC (0994); First Wind Solar Portfolio, LLC (5014); First Wind
 California Holdings, LLC (7697); SunEdison Holdings Corporation (8669); SunEdison Utility Holdings, Inc.
 (6443); SunEdison International, Inc. (4551); SUNE ML 1, LLC (3132); MEMC Pasadena, Inc. (5238); Solaicx
 (1969); SunEdison Contracting, LLC (3819); NVT, LLC (5370); NVT Licenses, LLC (5445); Team-Solar, Inc.
 (7782); SunEdison Canada, LLC (6287); Enflex Corporation (5515); Fotowatio Renewable Ventures, Inc. (1788);
 Silver Ridge Power Holdings, LLC (5886); SunEdison International, LLC (1567); Sun Edison LLC (1450);
 SunEdison Products Singapore Pte. Ltd. (7373); SunEdison Residential Services, LLC (5787); PVT Solar, Inc.
 (3308); SEV Merger Sub Inc. (N/A); Sunflower Renewable Holdings 1, LLC (6273); Blue Sky West Capital, LLC
 (7962); First Wind Oakfield Portfolio, LLC (3711); First Wind Panhandle Holdings III, LLC (4238); DSP
 Renewables, LLC (5513); Hancock Renewables Holdings, LLC (N/A); Buckthorn Renewables Holdings, LLC
 (7616); Greenmountain Wind Holdings, LLC (N/A); Rattlesnake Flat Holdings, LLC (N/A); Somerset Wind
 Holdings, LLC (N/A); SunE Waiawa Holdings, LLC (9757); SunE MN Development, LLC (8669); SunE MN
 Development Holdings, LLC (5388); SunE Minnesota Holdings, LLC (8926); TerraForm Private Holdings LLC
 (5993); SunEdison Products, LLC (3557); Hudson Energy Solar Corporation (1344); SunE REIT-D PR, LLC
 (2171); First Wind Energy, LLC (5519); First Wind Holdings, LLC (4445); Vaughn Wind, LLC (9605); Maine
 Wind Holdings, LLC (4825); SunEdison International Construction, LLC (6257); and EchoFirst Finance Co., LLC
 (1607). The address of the Reorganized Debtors’ corporate headquarters is Two CityPlace Drive, 2nd Floor, St.
 Louis, Missouri, 63141. Everstream HoldCo Fund I, LLC (9564) is a Debtor in the Chapter 11 Cases (as defined
 herein) but is not a Reorganized Debtor.
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 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

        TASIA PAVALIS, being duly sworn, deposes and says:

              I am not a party to the action, am over eighteen years of age and reside in New
 York County, State of New York.

                On April 15, 2019, in addition to those parties served electronically by the
 Court’s electronic notification system on April 5, 2019, I caused:

 Notice of Adjournment of Hearing on Motion to Allow Mar-Bow Value Partners, LLC
 to File a Post-Hearing Brief [ECF Docket 5912] to be served by email to those parties so
 designated on the Core/2002 Service List and by depositing a true and correct copy of same
 by first class mail to those parties designated to receive mail service, postage prepaid, in an
 official depository under the exclusive care and custody of the United States Postal Service
 within the State of New York in the method set forth on the Core/2002 Service List
 attached hereto as Exhibit A;



                                                              s/Tasia Pavalis
                                                              TASIA PAVALIS
 Sworn to before me this 15th
 day of April, 2019

        /s/Nancy Sullivan
        Notary Public
 Notary Public, State of New York
 No. 01SU4742078
 Qualified in Suffolk County
 Commission Expires March 30, 2023
  
  
  
  
  
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                                    Exhibit A
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                                                                                                                               Core/2002 Service List 
                                                                                                                                             Served as set forth below


 
                       DESCRIPTION                                                           NAME                                                       ADDRESS                                                           EMAIL                            METHOD OF SERVICE 
                                                                                                                                     Attn: Irvin Schlussel 
                                                                                                                                      3900 N Hills Drive Apt 314 
                                                                                                                                                                                                                                                            
    Official Committee of Unsecured Creditors                                     Advantage Opportunities Fund, LP                   Hollywood FL 33021‐2540                                                                                               First Class Mail 
                                                                                                                                     Attn: Jason L Margolin 
                                                                                                                                     401 E. Jackson Street 
                                                                                                                                     Suite 1700                                                                                                             
    Counsel to Kforce, Inc.                                                       Akerman LLP                                        Tampa  FL 33602                                                            jason.margolin@akerman.com                 Email 
                                                                                                                                     Attn: Susan F Balaschak 
                                                                                                                                     666 Fifth Avenue, 20th Fl. 
                                                                                                                                     New York NY 10103                                                                                                      
    Counsel to Kforce, Inc.                                                       Akerman LLP                                                                                                                   susan.balaschak@akerman.com                Email 
                                                                                                                                     Attn: Arik Preis, Kristine Manoukian, Daniel H. Golden, Deborah Newman, 
                                                                                                                                     David M. Zensky                                                            apreis@akingump.com 
                                                                                                                                     One Bryant Park                                                            dgolden@akingump.com 
                                                                                                                                                                                                                                                            
    Counsel to the Steering Committee of Second Lien Creditors & The Tranche B                                                       Bank of America Tower                                                      djnewman@akingump.com                       
    Lenders/Steering Committee                                                    Akin Gump Strauss Hauer & Field, LLP               New York NY 10036‐6745                                                     dzensky@akingump.com                       First Class Mail and Email 
                                                                                                                                     Attn: Michael Lutgring 
                                                                                                                                     451 Florida Street 
                                                                                                                                                                                                                                                            
    Official Committee of Unsecured Creditors                                     Albemarle Corporation                              Baton Rouge LA 70801                                                                                                  First Class Mail 
                                                                                                                                     Attn: Melinda C. Franek, VP 
                                                                                                                                                                                                                 
                                                                                                                                     2 Greenwich Plaza, 4th Fl. 
                                                                                                                                     Greenwich CT 06830                                                                                                     
    Official Committee of Unsecured Creditors                                     AQR DELTA Master Account, L.P.                                                                                                                                           First Class Mail 
                                                                                                                              Attn: Hubert H. Kuo, Esq. 
    Counsel to Motech Industries Inc.                                                                                         2301 Dupont Drive, Suite 510                   
                                                                                   
                                                                                  Ardent Law Group, P.C.                      Irvine CA 92612                                                                                                               
                                                                                                                                                                                                                hkuo@ardentlawgroup.com                    Email 
                                                                                                                              Attn: James W. Grudus & C. Nicole Gladden 
                                                                                                                              One AT&T Way                                                                      jg5786@att.com                              
    AT&T Services Inc.                                                            AT&T Services Inc.                          Bedminster NJ 07921                                                               gn235y@att.com                             Email 
                                                                                                                              Attn: Juandisha M. Harris, Assistant Attorney General 
                                                                                                                              Cadillac Place, Suite 10‐200                                        
                                                                                                                              3030 W. Grand Boulevard                                                                                                       
    Attorney General for the State of Michigan                                    Attorney General for the State of Michigan  Detroit MI 48202                                                                  harrisj12@michigan.gov                     Email 
                                                                                                                              Attn: C. Luckey McDowell & Ian E. Roberts 
                                                                                                                              2001 Ross Avenue                                                                   
                                                                                                                              Suite 700                                                                         luckey.mcdowell@bakerbotts.com              
    Counsel to NRG Renew LLC and NRG Energy Inc.                                  Baker Botts L.L.P.                          Dallas  TX 75201                                                                  ian.roberts@bakerbotts.com                 Email 
                                                                                                                              Attn: Brent Weisenberg, Esq. 
    Counsel to BIT Holdings Seventy‐One, Inc. & E.I. du Pont de Nemours and                                                   919 Third Avenue                                                                                                              
    Company                                                                       Ballard Spahr LLP                           New York NY  10022                                                                weisenbergb@ballardspahr.com               Email 
                                                                                                                              Attn: Matthew G. Summers, Esq. 
                                                                                                                              919 N. Market Street, 11th Floor                    
                                                                                                                              Wilmington DE 19801                                                                                                           
    Counsel to BIT Holdings Seventy‐One, Inc.                                     Ballard Spahr LLP                                                                                                             summersm@ballardspahr.com                  Email 
                                                                                                                              Attn: Tobey M. Daluz, Esq.     919 
                                                                                                                              N. Market Street, 11th Floor                                                                                                  
    Counsel to E.I. du Pont de Nemours and Company                                Ballard Spahr LLP                           Wilmington DE 19801                                                               daluzt@ballardspahr.com                    Email 
                                                                                                                              Attn: Kimberly A. Walsh, Assistant Attorney General 
    Counsel to The Comptroller of Public Accounts of the State of Texas                                                       P.O. Box 12548                                                                                                                
    ("Comptroller") and The Texas Workforce Commission ("TWC")                    Bankruptcy & Collections Division           Austin TX 78711‐2548                                                              Kimberly.Walsh@texasattorneygeneral.gov    Email 
                                                                                                                              Attn: Gregory G. Vizza, Esquire 
                                                                                                                              One Logan Square 
                                                                                                                              130 North 18th Street                                                                                                         
    Counsel to Woongjin Energy Co. Ltd.                                           Blank Rome                                  Philadelphia PA 19103‐6998                                                        Vizza@BlankRome.com                        Email 




               In re: SunEdison, Inc., et al. 
               Case No. 16‐10992 (SMB)                                                                                                              Page 1 of 13
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                                                                                                                                      Served as set forth below


 
                      DESCRIPTION                                                          NAME                                                 ADDRESS                                     EMAIL                METHOD OF SERVICE 
                                                                                                                              Attn: Michael B. Schaedle, Esquire 
                                                                                                                              The Chrysler Building                  
                                                                                                                              405 Lexington Avenue                                                                
    Counsel to Woongjin Energy Co. Ltd.                                           Blank Rome                                  New York NY 10174‐0208                              Schaedle@BlankRome.com         Email 
                                                                                                                              Attn: George F. Kubin 
                                                                                                                                                                                   
                                                                                                                              1600 Broadway, 3rdFloor 
                                                                                                                              Denver  CO 80202                                                                    
    Official Committee of Unsecured Creditors                                     BOKF, N.A., as Indenture Trustee                                                                                               First Class Mail 
                                                                                                                                Attn: Wanda Borges 
                                                                                                                                575 Underhill Blvd 
                                                                                                                                Suite 118                                                                         
    Counsel to Walters Wholesale Electric Company                                 Borges & Associates, LLC                      Syosset NY 11791                                  bankruptcy@borgeslawllc.com    Email 
                                                                                                                                Attn: Andrew Hall 
                                                                                                                                5005 Texas Street 
                                                                                                                                Suite 400                                                                         
    Counsel to Borrego Solar Systems, Inc.                                        Borrego Solar Systems, Inc.                   San Diego CA 92108                                andrewhall@borregosolar.com    Email 
                                                                                                                                Attn: Frank Bottini, Esq. & Albert Chang, Esq. 
                                                                                                                                7817 Ivanhoe Avenue 
                                                                                                                                Suite 102                                                                         
    Counsel to Alexander Usenko, Julie Dull, Erin O'Day and Robert Linton         Bottini & Bottini, Inc.                       La Jolla CA 92037                                 mail@bottinilaw.com            Email 
                                                                                                                                Attn: Raymond A. Bragar, Lawrence P. Eagel 
                                                                                                                                885 Third Avenue                                   
    Counsel to Abraham, Fruchter, & Twersky, LLP., counsel for Pyramid Holdings,                                                Suite 3040                                        bragar@bespc.com                
    Inc. Lead Plaintiff in re Terraform Global, Inc.                              Bragar Eagel & Squire, P.C.                   New York NY 10022                                 eagel@bespc.com                Email 
                                                                                                                                Attn: Donald K. Ludman 
                                                                                                                                6 North Broad Street 
                                                                                                                                Suite 100                                                                         
    Counsel to SAP America, Inc.                                                  Brown & Connery, LLP                          Woodbury NJ 08096                                 dludman@brownconnery.com       Email 
                                                                                                                                Attn: Lloyd A. Palans & Brian C. Walsh 
                                                                                                                                211 North Broadway                                lapalans@bryancave.com          
    Counsel to SunEdison Semiconductor Limited                                    Bryan Cave, LLP                               St. Louis MO 63102                                brian.walsh@bryancave.com      Email 
                                                                                                                                Attn: Shawn M. Christianson 
                                                                                                                                55 Second Street 
                                                                                  Buchalter Nemer, A Professional               17th Floor                                                                        
    Oracle America, Inc. successor‐in‐interest to Oracle USA Inc.                 Corporation                                   San Francisco CA 94105‐3493                       schristianson@buchalter.com    Email 
                                                                                                                                Attn: Connor M. Day, Esq. 
                                                                                                                                2033 N. Main Street 
                                                                                                                                Suite 720                                                                         
    Counsel to State Roofing Systems, Inc.                                        Buchman Provine Brothers Smith LLP            Walnut Creek CA 94596                             rbrothers@bpbsllp.com          Email 
                                                                                                                                Attn: Frederick J. Klorczyk III 
                                                                                                                                888 Seventh Ave                                                                   
    Counsel to Norene French as Class Representative                              Bursor & Fisher, P.A.                         New York NY 10019                                 fklorczyk@bursor.com           Email 
                                                                                                                                Attn: Matthew C. Heyn, Deputy Attorney General 
                                                                                                                                300 South Spring Street 
                                                                                  California Department of Justice, Business &  Suite 1702                                                                        
    Counsel to California Department of General Services (“DGS”)                  Tax Section                                    Los Angeles CA 90013                             matthew.heyn@doj.ca.gov        Email 
                                                                                                                                Attn:  James  M.  Heiser 
                                                                                                                                111  W.  Monroe Street                                                            
    Counsel to PNC Energy Capital, LLC                                            Chapman and Cutler LLP                        Chicago IL 60603                                  heiser@chapman.com             Email 
                                                                                                                                Attn: Steven Wilamowsky 
                                                                                                                                1270 Avenue of the Americas                                                       
    Counsel to PNC Energy Capital LLC                                             Chapman and Cutler LLP                        New York NY 10020                                 wilamowsky@chapman.com         Email 
                                                                                                                                Attn: Charles E. Boulbol 
                                                                                                                                26 Broadway, 17th Floor 
                                                                                                                                 New York NY 10004                                                                
    Counsel for Russell Reynolds Associates, Inc.                                 Charles E. Boulbol, P.C.                                                                        rtrack@msn.com                 Email 




              In re: SunEdison, Inc., et al. 
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                                                                                                                                 Core/2002 Service List 
                                                                                                                                          Served as set forth below


 
                       DESCRIPTION                                                              NAME                                                       ADDRESS                                                          EMAIL             METHOD OF SERVICE 
                                                                                                                                   Attn: Stephanie Profit, Tax Collector Attorney  
                                                                                                                                   Office of the Treasurer/Tax Collector ‐ Legal Section 
                                                                                                                                   P.O. Box 7027                                                                                               
    Counsel for the City and County of San Francisco                                  City and County of San Francisco             San Francisco CA 94120‐7027                                                   phil.delacruz@sfgov.org      Email 
                                                                                                                                   Attn: Lisa M. Schweitzer, Thomas S. Kesseler, & Jane VanLare                  lschweitzer@cgsh.com 
                                                                                                                                   One Liberty Ave                                                               jvanlare@cgsh.com             
    Counsel to SMP Ltd.                                                               Cleary Gottlieb Steen & Hamilton LLP         New York NY 10006                                                             tkessler@cgsh.com            Email 
                                                                                                                                   Attn: Gregg M. Ficks One 
                                                                                                                                   Montgomery Street 
                                                                                                                                   Suite 3000                                                                                                  
    Counsel for 1031, 1035, 1039 North McDowell, LLC                                  Coblentz, Patch, Duffy & Bass LLP            San Francisco CA 94104                                                        gficks@coblentzlaw.com       Email 
                                                                                                                                   Attn: Richard M. Seltzer 
    Counsel to United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,                                                    330 West 42nd Street                                                                                        
    Allied Industrial and Service Workers International Union, AFL‐CIO                Cohen, Weiss & Simon, LLP                    New York NY 10036                                                             rseltzer@cwsny.com           Email 
                                                                                                                                   Attn: Daniel F.X. Geoghan, Esq. 
                                                                                                                                   1325 Avenue of the Americas 
                                                                                                                                   19th Floor                                                                                                  
    Counsel to Albemarle Corporation (“Albemarle”)                                    Cole Schotz P.C.                             New York NY 10019                                                             dgeoghan@coleschotz.com      Email 
                                                                                                                                   Attn: Norman L. Pernick, Esq. 
                                                                                                                                   500 Delaware Avenue     
                                                                                                                                   Suite 1410                                                                                                  
    Counsel to Albemarle Corporation (“Albemarle”)                                    Cole Schotz P.C.                             Wilmington DE 19801                                                           npernick@coleschotz.com      Email 
                                                                                                                                   Attn: Rebecca Hollander, Esq. 
                                                                                                                                   Court Plaza North                  
                                                                                                                                   25 Main Street                                                                                              
    Counsel to Albemarle Corporation (“Albemarle”)                                    Cole Schotz P.C.                             Hackensack NJ 07601                                                           rhollander@coleschotz.com    Email 
                                                                                                                                   Attn: Robert L. Eisenbach III 
                                                                                                                                   101 California Street            
                                                                                                                                   5th Floor                                                                                                   
    Counsel to Enphase Energy, Inc.                                                   Cooley LLP                                   San Francisco CA 94111‐5800                                                   reisenbach@cooley.com        Email 
                                                                                                                                   Attn: Dianne Coffino & R. Alexander Clark 
                                                                                                                                   The New York Times Building                                                    
                                                                                                                                   620 Eighth Avenue                                                             dcoffino@cov.com              
    Counsel to Borrego Solar Systems, Inc.                                            Covington & Burling LLP                      New York NY 10018                                                             aclark@cov.com               Email 
                                                                                                                                   Attn: Paul Zumbro 
                                                                                                                                   Worldwide Plaza 
    Counsel to Orion US Holdings 1 L.P., BRE TERP Holdings Inc. and BRE GLBL                                                       825 Eighth Avenue                                                                                           
    Holdings Inc.                                                                     Cravath, Swaine & Moore LLP                  New York NY 10019                                                             pzumbro@cravath.com          Email 
                                                                                                                                   Attn: Michael J Joyce 913 
                                                                                                                                   North Market Street 
                                                                                                                                   11th Floor                                                                                                  
    Counsel to S&C Electric Company                                                   Cross & Simon LLC                            Wilmington DE 19801                                                           mjoyce@crosslaw.com          Email 
                                                                                                                                   Attn: Richard L. Currier, Esq. 
                                                                                                                                   55 North Street                                                                                             
    Counsel to Town of Mars Hill                                                      Currier & Trask, P.A.                        Presque Isle ME 04769                                                         rcurrier@curriertrask.com    Email 
                                                                                       
                                                                                                                                   Attn: Steven J. Reisman, Esq., James V. Drew, Esq. & Cindi M. Giglio, Esq.    sreisman@curtis.com 
    Counsel to Flextronics Industrial Ltd., Flextronics International Europe B.V. and                                              101 Park Avenue                                                               jdrew@curtis.com              
    Flextronics International Asia‐Pacific Ltd.                                        Curtis, Mallet‐Prevost, Colt & Mosle LLP    New York NY 10178‐0061                                                        cgiglio@curtis.com           Email 
                                                                                                                                   Attn: Martin Lebwohl      
                                                                                                                                                                                                                  
                                                                                                                                   1166 Avenue of the Americas 
                                                                                                                                   9th Floor                                                                                                   
    Official Committee of Unsecured Creditors                                         D.E. Shaw Composite Holdings, LLC            New York NY 10036                                                                                          First Class Mail 
                                                                                                                                   Attn: Marshall Huebner, James Windels, Michael Russano 
                                                                                                                                   450 Lexington Avenue                                                                                        
    Counsel for Independent Directors of SunEdison                                    Davis Polk & Wardwell LLP                    New York NY 10017                                                             SunEdDPW@davispolk.com       Email 




               In re: SunEdison, Inc., et al. 
               Case No. 16‐10992 (SMB)                                                                                                          Page 3 of 13
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                                                                                                                                        Served as set forth below


 
                       DESCRIPTION                                                             NAME                                                ADDRESS                                                             EMAIL                       METHOD OF SERVICE 
                                                                                      
                                                                                                                                 Attn: Eric C. Cotton Deputy General Counsel & Corporate Compliance Officer 
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               In re: SunEdison, Inc., et al. 
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                       DESCRIPTION                                                      NAME                                                  ADDRESS                                                             EMAIL                   METHOD OF SERVICE 
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                                                                                                                                    Served as set forth below
 
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                                                                                                                                         Core/2002 Service List 
                                                                                                                                        Served as set forth below
 
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                                                                                                                           Core/2002 Service List 
                                                                                                                          Served as set forth below
 
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                                                                                                                           Served as set forth below
 
                       DESCRIPTION                                               NAME                                                      ADDRESS                                                 EMAIL              METHOD OF SERVICE 
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               In re: SunEdison, Inc., et al. 
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                                                                                                                                      Core/2002 Service List 
                                                                                                                                     Served as set forth below
 
                       DESCRIPTION                                                             NAME                                            ADDRESS                                                                 EMAIL                     METHOD OF SERVICE 
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    Statutory Trust; WF‐SunE‐EPE Solar Statutory Trust; WF‐SunE‐Cascade Solar 
    Statutory Trust; WF‐SunE‐Orion I Solar Statutory Trust; WF‐SunE‐Orion II Solar 
                                                                                                                                                                                                                                                  
    Statutory Trust; WF‐SunE‐Vega Solar Statutory Trust; Wilmington Trust                                                                                                                                                                         
    Company, solely in its capacity as Trustee for the WF‐SunEXII Solar Statutory                                                                                                                                                                 
                                                                                     
    Trust; Wilmington Trust, National Association, solely in its capacity as Trustee 
                                                                                                                                                                                                                                                  
    for the EnfinityWF Solar Trust; and Wells Fargo Bank Northwest, National 
    Association, solely in its capacity as Trustee for the WF‐SE I Solar Statutory 
                                                                                                                                                                                                                                                  
    Trust, the WF‐SunE‐SPS Solar Statutory Trust, the WF‐SunE‐EPE Solar  Statutory                                                                                                                                                                
    Trust, the WF‐SunE‐Cascade Solar Statutory Trust, the WF‐SunE‐ Orion I Solar                                              Attn: Hugh M. McDonald, Craig M. Kline                                        Hugh.McDonald@troutmansanders.com     
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               In re: SunEdison, Inc., et al. 
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                                                                                                                                        Core/2002 Service List 
                                                                                                                                       Served as set forth below
 
                       DESCRIPTION                                                            NAME                                                   ADDRESS                                                            EMAIL                     METHOD OF SERVICE 
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                                                                                                          Core/2002 Service List 
                                                                                                         Served as set forth below
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